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 7
                            UNITED STATES DISTRICT COURT
 8                        NORTHERN DISTRICT OF CALIFORNIA
 9   IN RE: XYREM (SODIUM OXYBATE)           Case No. 5:20-md-02966-RS
     ANTITRUST LITIGATION
10

11   This Document Relates To: All Actions

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13
               SUPPLEMENTAL JOINT CASE MANAGEMENT STATEMENT
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 1          Pursuant to the Parties’ supplemental Joint Case Management Statement submitted

 2   Wednesday, October 26th, 2022 (ECF No. 340), the Parties have met and conferred concerning

 3   dates they are available for a class certification hearing in April of next year.

 4          The Parties propose that the class certification hearing be scheduled for either April 3 or

 5   April 4, 2023. The Parties recognize these dates are earlier than discussed with the Court at the last

 6   CMC, but certain Defendants’ counsel are unavailable between April 5 and 17, and certain

 7   Plaintiffs’ counsel’s trial schedules pose conflicts after April 17.

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11   Dated: November 2, 2022                                  Respectfully submitted,

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28                               SUPPLEMENTAL JOINT CASE MANAGEMENT STATEMENT

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                               SUPPLEMENTAL JOINT CASE MANAGEMENT STATEMENT

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14                                           FILER’S ATTESTATION
15           I, Devora W. Allon, am the ECF user whose identification and password are being used to
16   file this document. In compliance with Local Rule 5-1(i)(3), I hereby attest that all signatories
17   hereto concur in this filing.
18                                                     /s/ Devora W. Allon
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                                     SUPPLEMENTAL JOINT CASE MANAGEMENT STATEMENT

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